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 November 24, 2021                                                                                                D: +1 310 246 6850
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 VIA ECF

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:       United States v. Thomas J. Barrack
           Criminal Docket No. 1:21-CR-371-2 (BMC)

 Dear Judge Cogan:

 With the consent of the U.S. Attorney’s Office, defendant Thomas J. Barrack, Jr., respectfully
 moves the Court to modify his bond conditions by removing one of the four secured properties
 from his personal appearance bond. Specifically, Mr. Barrack seeks to release the lien on the
 property located at 17002 Adlon Road, Encino, California,1 owned by his adult son, Thomas J.
 Barrack, III, from the bond so that Mr. Barrack’s son may sell his home. Should the Court grant
 Mr. Barrack’s proposed modification, his $250 million dollar personal appearance bond will
 remain secured by $5 million in cash, over 21 million shares in Digital Bridge, the signatures of
 his adult son, his ex-wife, and his close personal friend, and three other properties. See Docket
 Entry No. 15. The proposed bond will thus continue to “reasonably assure the appearance of
 the person as required and the safety of any other person and the community[.]” 18 U.S.C.
 § 3142(g).

 To date, Mr. Barrack has not demonstrated any non-compliance with his required appearances
 before the Court, and he does not present any danger to any individual or the community. We
 have conferred with counsel for the government who has agreed to the proposed bond




 1The bond submitted to the Court describes this property as being located at 11712 Adlon Road, Los
 Angeles, CA, 91436.



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 modification, provided that Mr. Barrack’s son agree to add his new residence (after it
 is purchased) to the bond, which Mr. Barrack, III, has agreed to do.

 Respectfully submitted,


 /s/ Daniel M. Petrocelli

 Daniel M. Petrocelli
 James A. Bowman
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